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                       IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON



 EQUAL EMPLOYMENT OPPORTUNITY                         Case No. 3:20-cv-01688-IM
 COMMISSION,
                                                      ORDER
                Plaintiff,

        v.

 HANNAH’S INC., and HANNAH’S PET
 HOSPITALS OF OREGON, INC,

                Defendants.


IMMERGUT, District Judge.

       This Court, having considered the foregoing stipulated agreement of the parties filed on

October 6, 2021, HEREBY ORDERS THAT the Consent Decree, be, and the same hereby is,

approved as the final decree of this Court in full settlement of this action. ECF 28. This lawsuit is

hereby dismissed with prejudice and without costs or attorney’s fees. The Court retains

jurisdiction of this matter for purposes of enforcing the Consent Decree approved herein.
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IT IS SO ORDERED.

DATED this 8th day of October, 2021.


                                       /s/ Karin J. Immergut
                                       Karin J. Immergut
                                       United States District Judge
